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  8
    Attorneys for Defendant New York
  9 Marine and General Insurance Company
 10                       UNITED STATES DISTRICT COURT
 11          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 Travelers Commercial Insurance            Case No. 2:21-cv-5832-GW (PDx)
    Company, a Connecticut Corporation,
 14                                           DECLARATION OF JAMES P.
                 Plaintiff,                   WAGONER IN SUPPORT OF
 15                                           DEFENDANT NEW YORK MARINE
          v.                                  AND GENERAL INSURANCE
 16                                           COMPANY’S MOTION TO
    New York Marine and General               DISMISS COMPLAINT
 17 Insurance Company, a New York
    Corporation,                              Filed Concurrently with Notice of
 18                                           Motion and Motion to Dismiss;
                 Defendant.                   Memorandum of Points & Authorities;
 19                                           Request for Judicial Notice; [Proposed]
                                              Order
 20
                                              Date:          September 16, 2021
 21                                           Time:          8:30 a.m.
                                              Judge:         Hon. George H. Wu
 22                                           Crtrm.:        9D
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        DECLARATION OF JAMES P. WAGONER IN SUPPORT OF DEFENDANT NEW YORK MARINE AND
                 GENERAL INSURANCE COMPANY’S MOTION TO DISMISS COMPLAINT
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  1          I, James P. Wagoner, do hereby declare as follows:
  2          1.    I am an attorney licensed to practice in the State of California, and am
  3 admitted to practice in the United States District Court for the Central District of
  4 California. I am a member of the firm of McCormick, Barstow, Sheppard, Wayte &
  5 Carruth, LLP, and in that capacity, represent Defendant New York Marine and
  6 General Insurance Company (“New York Marine”) in this action.
  7          2.    The facts herein are known to me and within my personal knowledge and
  8 if called upon to testify thereto, I could and would testify hereto.
  9          3.    This declaration is submitted in support of New York Marine’s Motion
 10 to Dismiss the Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil
 11 Procedure.
 12          4.    The “reservation of rights issued on October 1, 2019” referenced in
 13 paragraph 9 of Travelers’ Complaint (Dkt. 1, p. 4) is an October 1, 2019 letter from
 14 Mr. Steven Battaglia, a Claims Specialist for ProSight Specialty Insurance, claims
 15 administrator for New York Marine, to New York Marine’s insured, stating that New
 16 York Marine would provide a defense for the insured in connection with certain
 17 litigation through the firm Cameron McEvoy, subject to the reservations of New York
 18 Marine’s rights as set forth therein. A true and correct copy of the October 1, 2019
 19 letter is filed concurrently herewith as Exhibit A.
 20          5.    The General Liability Policy, “policy no. GL201800012500, effective
 21 July 18, 2018 to July 18, 2019 (the ‘New York Marine Policy’)” referenced at
 22 paragraph 8 of Travelers’ Complaint (Dkt. 1, p. 4), is a policy of insurance issued by
 23 New York Marine covering its and Travelers’ mutual insured, and is the policy of
 24 insurance under which Travelers’ claims in the present litigation arise. A true and
 25 correct copy of the New York Marine General Liability Policy no. Gl201800012500
 26 with (premium information and personal address information redacted) is filed
 27 concurrently herewith as Exhibit B.
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          DECLARATION OF JAMES P. WAGONER IN SUPPORT OF DEFENDANT NEW YORK MARINE AND
                   GENERAL INSURANCE COMPANY’S MOTION TO DISMISS COMPLAINT
Case 2:21-cv-05832-GW-PD Document 11-3 Filed 08/17/21 Page 3 of 4 Page ID #:76




  1               6.    A true and correct copy of the Complaint from the Underlying Action
  2 referenced in Paragraph 7 of Travelers’ Complaint (Dkt. 1, p. 3), which was filed in
  3 Fairfax County Circuit Court in Virginia, is filed concurrently herewith as Exhibit C.
  4               7.    A true and correct copy of the Virginia State Bar’s Standing Committee
  5 on the Unauthorized Practice of Law Legal Ethics Opinion 598 approved by the
  6 Supreme Court of Virginia on March 8, 1985, effective June 1, 1985 filed
  7 concurrently herewith as Exhibit D.
  8               8.    A true and correct copy of the Virginia State Bar’s Standing Committee
  9 on the Unauthorized Practice of Law Legal Ethics Opinion 1536 issued June 22, 1993
 10 filed concurrently herewith as Exhibit E.
 11               9.    The defense firm appointed by New York Marine, Cameron McEvoy
 12 PLLC, consists of 12 attorneys. The firm website identifies the jurisdictions where
 13 each of the attorneys is licensed to practice law, including the District of Columbia
 14 and the States of Virginia, Maryland, New Jersey, New York, as well as various
 15 Federal Courts. As identified by the firm website, none of the attorneys at Cameron
 16 McEvoy PLLC are admitted to practice in the state of California. True and correct
 17 copies of the firm biographies for all 12 of the firm’s attorneys, as last accessed on
 18 August 17, 2021, are filed concurrently herewith as Exhibit F.
 19               I declare under penalty of perjury that the foregoing is true and correct.
 20 Executed on August 17, 2021.
 21
 22                                            By:            /s/ James P. Wagoner
 23                                                          James P. Wagoner
 24   7830889.1


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          DECLARATION OF JAMES P. WAGONER IN SUPPORT OF DEFENDANT NEW YORK MARINE AND
                   GENERAL INSURANCE COMPANY’S MOTION TO DISMISS COMPLAINT
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  1                                 PROOF OF SERVICE
  2   Travelers Commercial Insurance Company v. New York Marine and General
                                Insurance Company
  3                      Case No. 2:21-cv-5832-GW (PDx)
  4 STATE OF CALIFORNIA, COUNTY OF FRESNO
  5       At the time of service, I was over 18 years of age and not a party to this action.
    I am employed in the County of Fresno, State of California. My business address is
  6 7647 North Fresno Street, Fresno, CA 93720.
  7        On August 17, 2021, I served true copies of the following document(s)
    described as DECLARATION OF JAMES P. WAGONER IN SUPPORT OF
  8 DEFENDANT NEW YORK MARINE AND GENERAL INSURANCE
    COMPANY’S MOTION TO DISMISS COMPLAINT on the interested parties in
  9 this action as follows:
 10 Mark D. Peterson
    Kathleen O. Peterson
 11 Amy Howse
    Cates Peterson LLP
 12 4100 Newport Place, Suite 230
    Newport Beach, CA 92660
 13 Telephone: (949) 724-1180
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 14 kpeterson@catespeterson.com
    ahowse@catespeterson.com
 15
    Attorneys    for   Plaintiff  Travelers
 16 Commercial Insurance Company
 17
           BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
 18 the document(s) with the Clerk of the Court by using the CM/ECF system.
    Participants in the case who are registered CM/ECF users will be served by the
 19 CM/ECF system. Participants in the case who are not registered CM/ECF users will
    be served by mail or by other means permitted by the court rules.
 20
           I declare under penalty of perjury under the laws of the United States of
 21 America that the foregoing is true and correct and that I am employed in the office of
    a member of the bar of this Court at whose direction the service was made.
 22
           Executed on August 17, 2021, at Fresno, California.
 23
 24
                                                /s/ Marisela Taylor
 25                                             Marisela Taylor
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        DECLARATION OF JAMES P. WAGONER IN SUPPORT OF DEFENDANT NEW YORK MARINE AND
                 GENERAL INSURANCE COMPANY’S MOTION TO DISMISS COMPLAINT
